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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION


 CHRIMAR SYSTEMS, INC., CHRIMAR                   §
 HOLDING COMPANY, LLC,                            §
                                                  §    CIVIL ACTION NO. 6:17-CV-00682-JRG
                                                  §
                Plaintiffs,                       §
                                                  §
 v.                                               §
                                                  §
 AVIGILON         CORPORATION,                    §
 AVIGILON USA CORPORATION,                        §

                Defendants.

                                       FINAL JUDGMENT

        Plaintiff initiated this action on December 8, 2017 (Doc. No. 1). Since that time, all

 Defendants have been dismissed. The Court therefore enters Final Judgment.

        It is therefore ORDERED, ADJUDGED and DECREED that the parties take nothing

 and that all pending motions are DENIED AS MOOT. All costs are to be borne by the party

 that incurred them.

        It is further ORDERED, ADJUDGED and DECREED that all claims, counterclaims,

 and third-party claims in the instant suit be DISMISSED in their entirety.

        The Clerk of the Court is directed to close this case.

        So Ordered this
        Jun 22, 2018
